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IN THE UNITED STATES DISTRICT COURT 05 D'C'
FoR THE wEsTERN DISTRICT oF TENNESSEE JUN la AH 8 16

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UNITED s'rArEs oF AMERICA, ;JL'E.QK, U_S_ ROU
V"' D» OF TN fig CT.
Piaintirf, KSON
vs. No. 05-10012-r

JAMES CURTIS BAKER,
Defendant.

ORDER CONTINUING TRIAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, with no objection from the government and for
good cause shown, the report date which is currently scheduled for June 14, 2005 , and the trial
date which is currently scheduled for June 23, 2005, are hereby continued. The defendant
contends that additional time is needed to prepare for trial.

The court finds that defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordinglv. the trial is continued from June 23_ 2005. to Auaust 101 2005. at
9:30 A.M. The resulting period of delay, from June 23, 2005, to August 10, 2005, is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).

A new report/motion date has been set for August 4, 2005, at 8:30 a.m.

IT IS SO ORDERED.

@WB-M

J S D. TODD
ED STATES DISTRICT JUDGE

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DATE 0

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
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Honorable J ames Todd
US DISTRICT COURT

